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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-62494-CIV-ALTMAN/Hunt

  VIRGINIA AYALA,

         Plaintiff,
  v.

  MIDLAND CREDIT MANAGEMENT, LLC,
  and MIDLAND FUNDING, LLC,

        Defendants.
  __________________________________________/

                                              ORDER

         The Plaintiff has filed a Motion to Remand [ECF No. 4], to which the Defendants

  responded on December 31, 2020 [ECF No. 10]. In the Response, the Defendants averred that

  “Defendants do not oppose the request for remand but do oppose the request for fees because

  removal was not objectively reasonable.” Id.

         “[T]he standard for awarding fees should turn on the reasonableness of the removal.”

  Martin v. Franklin Capital Corp., 546 U.S. 132, 138 (2005). And, generally, a district court should

  award fees under § 1447(c) only when “the removing party lacked an objectively reasonable basis

  for seeking removal.” Id. at 141. This Court rejects the Plaintiff’s request for fees because the

  Defendants’ removal—premised on the Plaintiff’s claims under the Fair Debt Collection Act, 15

  U.S.C. § 1692—had “an objectively reasonable basis.”

         Being fully advised, the Court hereby

         ORDERS AND ADJUDGES as follows:

         1. The Plaintiff’s Motion to Remand [ECF No. 4] is GRANTED in part and DENIED

             in part.
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        2. This case is REMANDED to the Circuit Court of the Seventeenth Judicial Circuit in

           and for Broward County, Florida.

        3. Each party shall bear its own costs and attorneys’ fees in connection with the removal

           and remand.

        4. The Clerk shall CLOSE this case. All pending hearings and deadlines are

           CANCELLED, and any pending motions are DENIED AS MOOT.

        DONE AND ORDERED in Fort Lauderdale, Florida this 11th day of January 2021.



                                                    _________________________________
                                                    ROY K. ALTMAN
                                                    UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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